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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                                DISTRICT OF COLUMBIA

JOHN DOE,                                     )
                                              )
        Plaintiff,                            )       Civil Action No. 1:18-cv-553
                                              )
v.                                            )
                                              )
THE GEORGE WASHINGTON                         )
UNIVERSITY,                                   )
                                              )
        Defendant.                            )
                                              )

                      SUPPLEMENTAL DECLARATION OF JOHN DOE

        I, John Doe, hereby declare as follows:

     1. On February 26, 2018, while my application to [SCHOOL], my first choice graduate
        program, was pending, I received the following message from an admissions officer at
        that school:

                Dear [John],

                I note that we have not yet received a reply to our previous request
                for further information, without which we are unable to proceed
                with your application. We would be grateful if you could provide
                the requested information within the next 7 days.

                If we have still not heard from you within the next 7 days we will
                assume that you are no longer interested in this application and it
                will be made unsuccessful.

                If you have any questions regarding this request please do not
                hesitate to contact us.

                Yours sincerely,
                [REDACTED]

     2. Because I had been suspended from GW and my appeal had been rejected by the date I
        received that correspondence, I did not respond to it. I assumed, consistent with that
        message, that my application would lapse as a result.

     3. However, on March 16 (three days after the filing of my Motion for a Preliminary
        Injunction), I received correspondence from [SCHOOL] stating, “I am pleased to inform
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      you that your application to [SCHOOL] has been successful and we would like to make
      you an offer as described below[.]” As stated in the letter, my offer is conditional upon a
      number of things, including “formal notification of the award of [my] current degree.”
      The correspondence requires that I accept the offer by April 27, 2018.

   4. Should I be awarded a preliminary injunction, I intend to accept that offer and enroll at
      [SCHOOL] this fall.


      I declare, under penalty of perjury, that the foregoing is true and is based on personal

knowledge.

                                                    BY:


DATED: April 9, 2018                                /s/ John Doe
                                                    John Doe




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     REDACTED
